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Attorney or Professional Name, Address,      Telephone and FAX
ERIC P. ISRAEL (State Bar No. 132426)
eisrael@DanningGill.com
DANNING, GILL, ISRAEL & KRASNOFF, LLP
1901 Avenue of the Stars, Suite 450
Los Angeles, California 90067-6006
Telephone:(310) 277-0077 Facsimile:(310) 277-5735
 Attorneys for Michael McConnell, Chapter 11 Trustee

                        UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                                                                                                              Chapter I 1 Case Number
 In re:
                                                                                                              9:19-bk-11573-MB

          HVI CAT CANYON, INC.,                                                                               Professional Fee Statement

                                                                                                              Number: ~
                                                                                                              Month of:            10/21-11/30, 20 ~ 9
                                                                                                    Debtor



                                                                                                    DaClfllllg,   Gill, Israel &Krasnoff, LLP
I. Name of Professional:
                                                                                                    fefldlllg - S2@ /~ttaCflCTI@tlt 8t faf'Agfapfl NO. 2
2. Date ofentry oforder approving employment of the professional:
                                                                                                    $~.~~
3. Total amount ofpre-petition payments received by the professional:
                                                                                                    -~.~~
4. Less: Total amount ofpre-petition services rendered and expenses:
                                                                                                    g See Attachment at Paragraphs Nos. 3 and 4
s. Baian~e off~~~,ds ~e~„a~n~~,g on aa~e or f~i~„g ofPeric~o~,:
6. Less: Total amount of all services rendered per prior fee statements: (Line 6
                                                                                 is not used when    0.00
filing Statement Number 1).
                                                                                                    _ S@@ AttaChlllellt at Pal'agI'8ph N0. 5
7. Less: Total amount of services and expenses this reporting period:
                                                                                                    $   See Attachment at Paragraphs Nos. 3 and 4
8. Balance of ftu~ds remaining for next reporting period:


                                                             EARNED AND THE EXPENSES INCURRED
DETAILED DOCUMENTATION SUPPORTING THE PROFESSIONAL FEES
                                                ON THE UNITED STATES TRUSTEE. A COPY OF THE
DURING THIS REPORTING PERIOD HAS BEEN SERVED
                                  PROVIDE D BY THE PROFESS IONAL TO ANY PARTY UPON REQUEST. FEES
DETAILED DOCUMENTATION WILL BE
                                                           THE AMOUNT STATED IN ITEM 7 ABOVE
AND COSTS WILL BE WITHDRAWN FROM THE TRUST ACCOUNT IN
                                                          AND SERVED ON THE PROFESSIONAL NAMED
UNLESS AN OBJECTION IS FILED WITH THE CLERK OF THE COURT
                                                        STATEME NT.
ABOVE WITHIN 10 DAYS FROM THE DATE OF SERVICE OF TH1S

                                                                                                         81
 9. Total number of pages attached hereto:

                                                                                                    during the indicated reporting eriod.
The above is a true and~orrect statement offees earned and expenses incurred

 Dated: December~, 2019
                                                                                                         ~~

 Type Name ofProfessional                                                                      Signature ofPro essional
 banning, Gill, Israel &Krasnoff, LLP


 Type Name of Attorney for Professional (if applicable)                                         Signature of Attorney for Professional (if applicable)
 Eric P. Israel, Esq.

 Revised September 2012                             PROFESSIONAL FEE STATEMENT (Page 1 of 2)                                                        USTR16-6.0
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                    ATTACHMENT TO PROFESSIONAL FEE STATEMENT NO. 1
                             banning Gill, Israel &Krasnoff, LLP

 1.     Michael A. McConnell was appointed as Chapter 11 Trustee for HVI Cat Canyon, Inc.
(the "debtor") on or about October 21, 2019.
                                                                                           Of
2.     On or about November 14, 2019, the Trustee filed the Chapter 11 Trustee's Notice
                                                                                           l
Application And Application To Employ banning, Gill, Israel &Krasnoff, LLP As Genera
                                                                 er 4, 2019, the Trustee  lodged
Counsel (the "Application" docket no. 509). On or about Decemb
                                                                                     Court's
an order on the Application. This Professional Fee Statement is contingent upon the
                                                          off,  LLP  ("bann ing  Gill"), and the
approval of the employment of banning Gill, Israel &Krasn
                                                                                     Guideli  nes,
amounts will only be paid in accordance with the Office ofthe United States Trustee
                                                                               res Motion
and only if the Court approves banning Gill's employment and the Fee Procedu
discussed in paragraph 3 below.
                                                                                             no.
 3.     Pursuant to the budget filed on or about November 7,2019(the "Budget," docket
                                                                              2019(docket no.
 474), which the Court approved by order entered on or about November 27,
                                                                    ons includi ng acarve-out
 572), UBS,LLC("UBS")loaned money to the Trustee for operati
                                                                                     d by the
 weekly reserve for the Trustee and his professionals, and for professionals retaine
                                                                                are being deposited
 Official Committee of Unsecured Creditors (the "Committee"). These funds
                                                                                      tee's
 weekly into segregated accounts for the Trustee's professionals and for the Commit
 professionals.
                                                                                              For
 4.      On or about November 14, 2019,the Trustee filed a Motion OfChapter 11 Trustee
                                                                           sation And
 Order(1)Establishing Procedures For The Payment OfInterim Compen
                                                                                         t On A
 Reimbursement OfExpenses(11 U S.C. ~~ 105(a) and 331), And Authorizing Paymen
                                                                                    which proposes
 Monthly Basis (11 U.S.C. ~ 328)(the "Fee Procedures Motion," docket no. 511),
                                                                                  lender and
 to make monthly payments in this case to the extent offunds carved-out by the
                                                                                   er 4, 2019,the
 designated for that purpose, or free and clear funds, if any. On or about Decemb
                                                                                      ed by the
 Trustee lodged an order on the Fee Procedures Motion. Assuming that it is approv
                                                                                      nt, the
 Court, subject to resolution of any timely objection to the Professional Fee Stateme
                                                                         expens es request ed in the
  Trustee may pay the professional the lesser of(a)80% of the fees and
                                                                                    in the monthly
  monthly statement, and (b)the aggregate amount offees and expenses requested
  statement as to which no timely objection was made.
                                                                                           through
 5.     Request for Payment of Professional Fees: During the period October 21,2019
                                                                                       of
 November 30,2019(the "Subject Period"), banning Gill has incurred fees and costs
                                                                              00 at present is
 $284,475.50, and $2,485.08, respectively, for a total of$286,960.58. $200,0
                                                                              secure its fees and
 being held under the carve-out in the segregated account for banning Gill to
                                                                              banning Gill is
 costs. Thus, in accordance with the Budget and the Fee Procedures Motion,
 requesting that it be paid fees and costs for the Subject Period of$200,000.
                                                                                          Gill.
  6.    Professional Statement No. 1: This is the first Professional Statement by banning
                                                                                to date.
  No compensation or reimbursement of expenses have been paid to banning Gill




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                          PROOF OF SERVICE OF DOCUMENT
                                                                                     ing. My business address
  am over the age of 18 and not a party to this bankruptcy case or adversary proceed
is 1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.
                                                                            SSIONAL FEE STATEMENT NO.
A true and correct copy of the foregoing document entitled (specify): PROFE
                                                                              manner required by LBR 5005-
ONE will be served or was served (a) on the judge in chambers in the form and
2(d); and (b) in the manner stated below:
                                                                               (NEF): Pursuant to controlling
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
                                      ng docume nt will be served by the court  via NEF and hyperlink to the
General Orders and LBR, the foregoi
                                                                               bankruptcy case or adversary
document. On December 6. 2019 , I checked the CM/ECF docket for this
                                                                  Electron ic Mail Notice List to receive NEF
proceeding and determined that the following persons are on the
transmission at the email addresses stated below:



                                                              D Service information continued on attached page.

                                                                                   following persons and/or entities
2. SERVED BY UNITED STATES MAIL: On December 6, 2019 , I served the
                                                                             ing by placing a true and correct copy
at the last known addresses in this bankruptcy case or adversary proceed
                                                                                prepaid, and addressed as follows.
thereof in a sealed envelope in the United States mail, first class, postage
                                                              to the judge will be completed no later than 24 hours
Listing the judge here constitutes a declaration that mailing
after the document is filed.

Debtor                                                    Debtor
HVI Cat Canyon, Inc.                                      HVI Cat CANYON, INC.
c/o Capitol Corporate Services, Inc.                      630 Fifth Avenue, Suite 2410
36 S. 18th Avenue, Suite D                                New York, NY 10111
Brighton, CO 80601
                                                               D Service information continued on attached page.

                                                                          ILE TRANSMISSION OR EMAIL (state
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIM
                                                                                 controlling LBR, on December 6,
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or
                                                                             , overnig ht mail service, or (for those
2019 , I served the following persons and/or entities by personal delivery
                                                               e transmi ssion  and/or  email as follows. Listing the
who consented in writing to such service method), by facsimil                            the judge will be completed
                                          persona l delivery on, or overnig ht  mail to,
judge here constitutes a declaration that
no later than 24 hours after the document is filed.

 Served by Personal Delivery to be delivered by December 9, 2019
 The Honorable Martin R. Bash
 U.S. Bankruptcy Court
 21041 Burbank Boulevard, Bin on 1 S' Floor outside entry to Intake Section
 Woodland Hills, CA 91367
                                                               ❑D Service information continued on attached page.

                                                                           the foregoin 'is true and correct.
  declare under penalty of perjury under the laws of the United States that. . .
                                                                               ,`j
                                                                               f

    December 6, 2019                 Vivian Servin
                                     Printed Name                             Signature
    Date
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                    ADDITIONAL SERVICE INFORMATION (if needed):


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     m
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   • Emily Young pacerteam@gardencitygroup.com,
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     danninggill@gmail.com;adeleest@ecf.inforuptcy.com
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2. SERVED BY UNITED STATES MAIL:

Office of the U.S. Trustee
1415 State Street, Suite 148
Santa Barbara, CA 93101


REQUESTS FOR SPECIAL NOTICE


 Attorneys for Bu~anko
 Philip W. Ganong
 Ganong Law
 930 Trustun Avenue, Suite 102
 Bakersfield, CA 93301



3. SERVED VIA EMAIL:
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Evan Jones, Esq. — ejones@omm.com
Eric Vanhorn — ericvanhorn@spencerfane.com
